Case
Case No. 1:17-cv-01937-DDD-NYW
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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No. 17-cv-01937-WYD-NYW

   MICHAEL BACA,
   POLLY BACA, and
   ROBERT NEMANICH,

          Plaintiffs,

   v.

   COLORADO DEPARTMENT OF STATE,

          Defendant.


                                      FINAL JUDGMENT


          In accordance with the orders filed during the pendency of this case, and

   pursuant to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

          Pursuant to the Order on Motion to Dismiss of Senior Judge Wiley Y. Daniel

   entered on April 10, 2018, it is hereby

          ORDERED that judgment is hereby entered in favor of Defendant, Colorado

   Department of State, and against Plaintiffs, Michael Baca, Polly Baca, and Robert

   Nemanich, on Defendant’s Motion to Dismiss Under Fed. R. Civ. P. 12(b)(1) and

   12(b)(6). It is further

          ORDERED that Plaintiffs’ complaint and action are DISMISSED WITH

   PREJUDICE.




                                                 17-cv-01937 - NOTICE OF APPEAL
                                                          PLAINTIFFS - EXHIBIT 2
Case
Case No. 1:17-cv-01937-DDD-NYW
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          Dated at Denver, Colorado this 10th day of April, 2018.

                                                 FOR THE COURT:
                                                 JEFFREY P. COLWELL, CLERK

                                             By: s/   Robert R. Keech
                                                      Robert R. Keech
                                                      Deputy Clerk




                                                17-cv-01937 - NOTICE OF APPEAL
                                                         PLAINTIFFS - EXHIBIT 2
